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 2
 3                              UNITED STATES DISTRICT COURT
 4                                     DISTRICT OF NEVADA
 5
     STATE OF NEVADA SUPREME COURTS,
 6                                                          Case No.: 2:20-cv-01932-JAD-NJK
            Plaintiff(s),
 7                                                                        ORDER
     v.
 8
     JONATHAN GREEN,
 9
            Defendant(s).
10
11         Defendant Jonathan Green is proceeding in this action pro se and submitted papers to
12 initiate this case in this Court. Docket No. 1-1. Defendant has not, however, paid the required
13 filing fee or requested authority pursuant to 28 U.S.C. § 1915 to proceed in forma pauperis. To
14 proceed with this case, Defendant must either pay the filing fee or file a fully complete application
15 to proceed in forma pauperis.
16         Accordingly, IT IS ORDERED:
17         1.      Defendant shall either make the necessary arrangements to pay the filing fee,
18 accompanied by a copy of this order, or file a fully complete application to proceed in forma
19 pauperis.
20         2.      The Clerk’s Office shall send Defendant the approved form application to proceed
21 in forma pauperis by a non-prisoner, as well as the document entitled “Information and
22 Instructions” for filing an in forma pauperis application.
23         3.      Defendant must comply with this order no later than November 19, 2020. Failure
24 to comply will result in a recommendation to the District Judge that this case be dismissed.
25         IT IS SO ORDERED.
26         Dated: October 20, 2020
27                                                               ______________________________
                                                                 Nancy J. Koppe
28                                                               United States Magistrate Judge

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